         Case 1:12-cr-00014-APM Document 111 Filed 01/22/20 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



UNITED STATES                                        :   Cr. No. 12-14(APM )

       V.                                            :

OSCAR RAMIRO ORTEGA-HERNANEZ                         :

       Defendant.                                    :


            NOTICE TO THE COURT RE: JANUARY 23, 2019 STATUS HEARING

       This case was recently reassigned by the Calendar Committee to this Court, which

scheduled a status conference for Thursday, January 23, 2020. The Notice advised that the Court

wanted to review the habeas corpus motion filed on June 21, 2016 by the Federal Public

Defender’s Office (FPD). An electronic copy of the Notice was sent to undersigned counsel,

who along with attorneys Sandi S. Rhee, Esquire and Robert A. Spelke, Esquire, were retained to

represent the defendant through the sentencing of this case. None of the aforementioned

attorneys were –- or are - involved in the 2255 motion. Prior counsel would have nothing

substantive to during the status conference scheduled for January 23, 2020. Undersigned has

spoken with FPD attorney Benjamin Flick, who concurs that prior defense counsel do not need to

be present at the status and that he is prepared to represent defendant Ortega-Hernandez’s

interests in this case from this moment forward. Undersigned also advised new Government

counsel that the prior attorneys did not intend to appear at the status and the Government

indicated that it had no objection.

       Accordingly, the undersigned is filing this Notice to formally advise the Court that prior

counsel do not plan to be present for the status hearing on January 23, 2020. Prior counsel are
         Case 1:12-cr-00014-APM Document 111 Filed 01/22/20 Page 2 of 2




not formally moving to withdraw from the representation in the event that our historical

knowledge of the case could assist the defendant in future proceedings.


                                                      /s/ Robert A Feitel
                                                      Robert Feitel
                                                      The Law Office of Robert Feitel
                                                      1300 Pennsylvania Avenue, N.W.
                                                      Washington, D.C. 20004
                                                      DC Bar Number 366673
                                                       RF@RFeitelLaw.com

                                                      On behalf of
                                                      Robert A. Spelke, Esquire
                                                      Sandi S. Rhee, Esquire




                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was sent, via the Electronic Filing System, to
Assistant United States Attorney John Gidez, 555 4th Street, N.W., Washington, D.C., this 22nd
day of January 2020.



                                              /s/Robert Feitel
                                              Robert Feitel
